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                             Exhibit
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4/28/2021                                                                                                          Photographer Eric Pickersgill's Series 'Removed' Shows Us How Our Devices Divide Us - The Denver EgotistThe Denver Egotist




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                                                               PHOTOGRAPHER ERIC                                                                                                                                 SUBMIT WORK & NEWS
                                                                                                                                                                                                                                  ADVERTISE WITH US




                                                               PICKERSGILL’S SERIES   Editorials
                                                               ‘REMOVED’ SHOWS US HOW LOSING $30K IN 30 HOURS –
                                                               OUR DEVICES DIVIDE US   RESPONDING TO COVID-19
                                                                                      AS A CREATIVE
                                                                                                                                                                                                                ENTREPRENEUR: BY ADAM
                                                                                                                                                                                                                VICAREL
                                                                                   0                                                                                                                            by The Denver Egotist / April 7, 2020


                                                                                                                                                                                                                IT’S 2019. ARE WE FALLING
                                                                                                                                                                                                                BACK INTO GENDER
                                                                                                                                                                                                                CLICHÉS? LET’S KEEP
                                                                                                                                                                                                                MOVING FORWARD, IN
                                                                                                                                                                                                                COMEDY AND ADVERTISING
                                                                                                                                                                                                                by The Denver Egotist / February 26, 2019


                                                                                                                                                                                                                THE CASE FOR SLOW
                                                                                                                                                                                                                DESIGN: MAKE ART, NOT
                                                                                                                                                                                                                PRODUCTS – BY JESSE
                                                                                                                                                                                                                WEAVER
                                                                                                                                                                                                                by The Denver Egotist / January 11, 2019




                                                                                                                                                                                                                Recent Jobs

                                                                                                                                                                                                                MEDIA ASSISTANT
                                                                                                                                                                                                                Explore Communications / Denver


                                                                                                                                                                                                                DIGITAL MEDIA COORDINATOR
                                                                                                                                                                                                                Explore Communications / Denver


                                                                                                                                                                                                                PROGRAM MANAGER
                                                                                                                                                                                                                Anthem Branding / Boulder, CO


                                                                                                                                                                                                                SUMMER INTERNSHIP (AD &
                                                                                                                                                                                                                WRITER)
                                                                                                                                                                                                                Made / Boulder, Colorado


                                                                                                                                                                                                                WEB & GRAPHICS DESIGNER
                                                               By The Denver Egotist / September 26, 2019 /
                                                                                                                                                                                                                Denver Zoo / Denver
                                                               Artist Pickergill’s photography series, Removed, went viral and touched a collectively universal nerve. He
                                                               makes visible what so many have tried to explain about the ways personal devices alter human
                                                               behavior, helping us relearn how to be truly connected in our device-dominated age.
                                                                                                                                                                                                                Recent Comments

                                                                                                                                                                                                                Hilda / British Artist Spent the Last Month in Boulder
                                                                                                                                                                                                                Casting Women’s Vaginas
                                                                                                                                                                                                                Disgusting. Typical Irish trash. ...[Read More]


                                                                                                                                                                                                                Jay / Boulder’s Fortnight Collective Adds Adam
                                                                                                                                                                                                                Chasnow as Partner/Chief Creative Officer
                                                                                                                                                                                                                To this day, his Hollywood Video radio spots from
                                                                                                                                                                                                                his time at Cliff Freeman make me laugh every time
                                                                                                                                                                                                                I hear them. ...[Read More]


                                                                                                                                                                                                                yikes / Boulder’s Fortnight Collective Adds Adam
                                                                                                                                                                                                                Chasnow as Partner/Chief Creative Officer
                                                                                                                                                                                                                Wow, this guy has, uh, a reputation... ...[Read
                                                                                                                                                                                                                More]


                                                                                                                                                                                                                Geelix / The Tuesday Rant: Advertising Awards;
                                                                                                                                                                                                                Self-serving or What?
                                                                                                                                                                                                                No one can go. You all hide behind your computer;
                                                                                                                                                                                                                why don’t you handle it with the appropriate person
                                                                                                                                                                                                                for your own matters...if you have a pro ...[Read
                                                                                                                                                                                                                More]


                                                                                                                                                                                                                Chris H / The Tuesday Rant: Advertising Awards;
                                                                                                                                                                                                                Self-serving or What?
                                                                                                                                                                                                                I have a list of naughty and nice who can attend
                                                                                                                                                                                                                and who will burn. ...[Read More]




                                                                                                                                                                                                                Featured Profiles

                                                                                                                                                                                                                                                C'MON
https://www.thedenveregotist.com/news/2019/09/26/photographer-eric-pickersgills-series-removed-shows-us-how-our-devices-divide-us/                                                                                                                                       1/3
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                                                                                                                                                                                                                                                Now is your chance to
                                                                                                                                                                                                                                                be featured across the
                                                                                                                                                                                                                                                site.




                                                                                                                                                                                                                Upcoming Events

                                                                                                                                                                                                                               FIRESIDE CHAT #3:
                                                                                                                                                                                                                 04.30
                                                                                                                                                                                                                               THE MAGIC OF THE
                                                                                                                                                                                                                               DYNAMIC DUO
                                                                                                                                                                                                                               April 30, 2021


                                                                                                                                                                                                                               DIGIMARCON WEST
                                                                                                                                                                                                                 06.16
                                                                                                                                                                                                                               2021 – DIGITAL
                                                                                                                                                                                                                               MARKETING, MEDIA
                                                                                                                                                                                                                               AND ADVERTISING
                                                                                                                                                                                                                               CONFERENCE &
                                                                                                                                                                                                                               EXHIBITION
                                                                                                                                                                                                                               June 16, 2021




                                                                                                                                                                                                                Latest Member Updates




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                                                               Category: Photography International




                                                               Comments

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                                                                                                                                                                                                                Telecommunications Industry
                                                                                                                                                                                                                Association). dlvr.it/QPzqRkpic.twitter.com/XsJrhSC

                                                               NEWS, LET US KNOW.                                                                                                                               grF

                                                                                                                                                                                                                About 3 years agofrom The Egotist Network's Twitter via dlvr.it

                                                               If we don’t know it’s out there, we can’t put it up for the city to see. We’re happy to give full credit or keep things
                                                               anonymous. Submit News & Work




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